Case 5:19-cv-02113-JGB-KK Document 6 Filed 11/05/19 Page 1lof1 Page ID #:68

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Joanne Gillies CASE NUMBER

PLAINTIFF(S) 5:19-cv-02113-JGB-KK

 

Anthony Kandare et al NOTICE OF CLERICAL ERROR

DEFENDANT(S)

 

 

You are hereby notified that due to a clerical error [_] documents associated with the filing of the new action
[_] the following scanned document [_] docket entry have/has been corrected as indicated below.

Title of scanned document:

 

Filed date: Document Number(s):

 

 

[_] Incorrect case number was assigned to this [_] action [_] document

 

[_] Case number has been corrected. The correct case number is

 

[_] Incorrect judge's initials were indicated on this [_] action [_] document . The correct judge's initials are:
[_] Incorrect magistrate judge's initials were indicated on this [_] action [_] document . The correct magistrate judge's

initials are:

 

[_] Case has been reassigned from [_] Judge [_] Magistrate Judge to
[_] Judge [[] Magistrate Judge . The initials of the new judge(s) are:
[_] Case was assigned to [_] Western [_] Southern [_] Eastern division. Pursuant to General Order 19-03, the case

 

 

has been reassigned to the [_] Western [_] Southern [_] Eastern division. The former case number

has been reassigned to new case number

 

 

[_] Case title is corrected from to

 

 

[_] Document has been re-numbered as document number

 

[_] Incorrect [[] Filed Date [7] Date of Document [7] Date ENTERED on CM/ECF was stamped on the document.

The correct date is

 

[_] Document is missing page number(s):

 

[_] To ensure proper routing of documents, all documents filed with the court must reflect the following case number

and judge's initials:

 

Other: Document number 3 due to clerical error. The docket clerk failed to attach the entire image of the new
action.

CLERK, U.S. DISTRICT COURT

Date: 11/5/2019 By: G. Hunt (Geneva_Hunt@cacd.uscourts.gov)

 

 

Deputy Clerk

 

G-11 (03/19) NOTICE OF CLERICAL ERROR
